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WESTERN DIsTRICT OF TENNESSEE
WESTERN DIVISION 05 JUN 30 H 3= 51
UNITED sTATEs 0F AMERICA, ) r\-%MSM. G.UJ-D
) wm s.@STRUFOO\BT“S
Petitioner ) wm § m' ‘ "
)
v. ) Case No. 05-2410 BV
)
LARRY BULLOCK, )
)
Respondent )

 

ORDER DISMISS[NG PETITION TO ENFORCE [RS SUMMONS

 

Upon motion of the United States to dismiss the Petition to Enforce IRS Summons and
for good cause shown, IT IS THEREFORE

ORDERED that the Petition to Enforce lRS Summons be and is hereby dismissed

 

 

J ;NIEL BREEN \
ED sTATEs DIsTRICT JUDGE

DATED; (#'{3 °/ "’"/

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This notice confirms a copy of the document docketed as number 5 in
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Gary A. Vanasek

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Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

